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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

            Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  _______________________/

                                               ORDER

            THIS CAUSE is before the Court upon Defendant Craig Wright’s Motion for Judgment

  on the Pleadings, ECF No. [144] (“Motion”). The Court has reviewed the Motion, all supporting

  and opposing submissions, the record and applicable law, considered the arguments presented by

  counsel at the hearing on July 10, 2019, and is otherwise fully advised. For the reasons that follow,

  the Motion is denied.

       I.   BACKGROUND

            The factual background giving rise to this action has been set forth previously in prior

  opinions issued by this Court and are incorporated by reference. See e.g. ECF No. [68]. The facts

  relevant to the instant Motion are as follows. On April 15, 2019, the Defendant filed the instant

  Motion challenging the Court’s subject matter jurisdiction. Specifically, the Defendant argues that

  the record evidence demonstrates that Dave Kleiman was not the sole member of Plaintiff W&K

  Info Defense Research, LLC (“W&K”), and that other members of the company exist whose

  membership would destroy diversity. The other proposed members include: 1) Uyen Nguyen

  (“Nguyen”); 2) Coin-Exch PTY Ltd. (“Coin-Exch”); and 3) Lynn Wright.
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          Further, the Defendant argues that the Second Amended Complaint (“SAC”), ECF No.

  [83], is deficient because it alleges that both that W&K’s exact ownership structure is “unclear due

  to Craig’s contradictory statements” and that “[a]s best as can presently be discerned, [Dave

  Kleiman] was the sole ‘member’ of W&K.” ECF No. [83], at ¶¶ 70-71. Therefore, the Defendant

  challenges the Court’s subject matter jurisdiction in both a factual and facial attack. On July 10,

  2019, the Court held an extensive hearing (“Hearing”) on the instant Motion.

   II.    LEGAL STANDARD

          “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of

  Am., 511 U.S. 375, 377 (1994). It is presumed that a federal court lacks jurisdiction in a particular

  case until the plaintiff demonstrates the court has jurisdiction over the subject matter. See id. (citing

  Turner v. Bank of No. Am., 4 U.S. 8, 11 (1799); McNutt v. Gen. Motors Acceptance Corp. of Ind.,

  298 U.S. 178, 182 (1936) (“It is incumbent upon the plaintiff properly to allege the jurisdictional

  facts ....”)). A district court may inquire into the basis of its subject matter jurisdiction at any stage

  of the proceedings. See 13 C. WRIGHT, A. MILLER & E. COOPER, Federal Practice &

  Procedure § 3522 (1975).

          Attacks on subject matter jurisdiction under Rule 12(b)(1) of the Federal Rules of Civil

  Procedure may be either facial or factual. See Lawrence v. Dunbar, 919 F.2d 1525, 1528-29 (11th

  Cir. 1990). Like a Rule 12(b)(6) motion, “[a] ‘facial attack’ on the complaint requires the court

  merely to look and see if plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and

  the allegations in the complaint are taken as true....” Menchaca v. Chrysler Credit Corp., 613 F.2d

  507, 511 (5th Cir. 1980) (citing Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d

  Cir. 1977)). Factual attacks differ because they “challenge[ ] the existence of subject matter

  jurisdiction in fact ... and matters outside of the pleadings, such as testimony and affidavits, are




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  considered.” Id. If a defendant shows a lack of diversity by meeting its burden of production for a

  factual attack, then the plaintiff must respond with proof definitively evincing diversity exists. See

  OSI, Inc. v. United States, 285 F.3d 947, 951 (11th Cir. 2002). Factual attacks also differ from

  facial attacks because “no presumptive truthfulness attaches to plaintiff’s allegations, and the

  existence of disputed material facts will not preclude the trial court from evaluating for itself the

  merits of jurisdictional claims.” Mortensen, 549 F.2d at 891.

  III.   DISCUSSION

         In the instant Motion, the Defendant argues that the SAC should be dismissed because the

  Court lacks subject matter jurisdiction over this action. Federal district courts have subject matter

  jurisdiction over civil actions where the amount in controversy exceeds $75,000.00 and the suit is

  between citizens of different states. See 28 U.S.C. § 1332(a). In analyzing diversity, the citizenship

  of a limited liability company is determined by the citizenship of its members. See Rolling Greens

  MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004) (requiring all

  LLC members to be diverse from all opposing parties). In the Defendant’s Motion, he asserts a

  factual challenge on subject matter jurisdiction. However, in his Reply, the Defendant has focused

  on a facial challenge. Compare ECF No. [144], at 9-14 with ECF No. [171], at 5. As for his factual

  attack, the Defendant suggests that other foreign members of W&K exist and thus diversity

  jurisdiction is destroyed. ECF No. [144], at 9-14. As for the Defendant’s facial argument, the

  Defendant contends that the SAC fails to allege the complete membership of W&K and includes

  language that reveals that the Plaintiff may be uncertain as to the company’s actual ownership.

  ECF No. [171], at 5. Thus, the Defendant claims that the SAC is facially deficient by failing to

  adequately allege diversity jurisdiction exists. The Court addresses each argument in turn.




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         a) Factual Attack

         Defendant first focuses his factual attack on the Court’s subject matter jurisdiction. “While

  the plaintiff has the burden to prove diversity in a factual attack, that burden exists only if the

  defendant has first proffered evidence to show a lack of diversity.” JPMCC 2005-CIBC13 Collins

  Lodging, 2010 WL 11452084, at *3 (denying motion because defendant’s “factual attack on

  diversity of citizenship is devoid of evidentiary support”) (emphasis added); see also RG Martin

  Investments, LLC v. Virtual Tech. Licensing, LLC, 2017 WL 7792564 at *2 (S.D. Fla. July 7, 2017)

  (“The burden of pleading diversity of citizenship is upon the party invoking federal jurisdiction,

  and if jurisdiction is properly challenged, that party also bears the burden of proof.”) (emphasis

  added). For the reasons that follow, the Court finds that the Defendant has failed to provide

  credible evidence showing a lack of diversity. As such, he has failed to satisfy his burden of

  production.

         In his Motion, Defendant argues that both Nguyen and Coin-Exch were members of W&K,

  and that their membership would destroy diversity in this action. ECF No. [144], at 11-13. Then,

  for the first time in his Reply, the Defendant argues that his ex-wife Lynn Wright was also a

  member of W&K. ECF No. [171], at 6-7.

                “Oh! What a tangled web we weave when first we practice to deceive.”
                                   Sir Walter Scott, Marmion (1808).

         This is not the first time that the Defendant has made certain representations regarding the

  membership of W&K. Indeed, the Court notes that the Defendant has made several conflicting

  statements regarding even his own ownership of W&K. ECF No. [256], at 29:24-25 (“Judge, I get

  that there are a number of different statements by Dr. Wright.”)




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         These statements include:

         On April 2, 2013, the Defendant signed a contract, representing that Dave Kleiman is
         100% owner of W&K, which was filed before the Supreme Court of New South Wales.
         ECF No. [83-5], at 1.

         On or about July and August of 2013, the Defendant filed a sworn affidavit in the Supreme
         Court of New South Wales declaring that he and Dave Kleiman each owned 50% of W&K.
         ECF No. [83-4], at 4.

         On April 16, 2018, in a sworn affidavit the Defendant stated that he has “never been a
         member of W&K.” ECF No. [12-2], at ¶ 12 (emphasis added).

         On June 28, 2019, during his deposition the Defendant testified under oath that he has “no
         idea” who the owners of W&K were, and unequivocally stated that he was not an owner
         of W&K. See ECF No. [242-1], at (233:12-14) (“Q: Who owned W&K in reality? A. Not
         me.”) and (233:22-23) (“Q. You have no idea who owns W&K? A. I do not know that.”).

         Now, in his Motion and contrary to the statements above, the Defendant argues that three

  additional parties may be members of W&K. Defendant claims that the record evidence supports

  the presence of the additional members. ECF No. [144], at 11-14. The Defendant recognizes, in

  both his Motion and at the Hearing, that in determining whether the Defendant has sufficiently

  challenged subject matter jurisdiction on a factual attack, the Court is “free to weigh the evidence”

  presented by the Defendant in his challenge. ECF No. [144], at n.3 (citing RG Martin Inv., LLC v.

  Virtual Tech. Licensing, LLC, 2017 WL 7792564, at *2); ECF No. [256], at 12:14 (“[M]y

  obligation is—initially to put this in play, is to show the Court evidence. The Court can weigh the

  evidence.”). The Court has thus conducted a careful review of the evidence presented by the

  Defendant and the record in this case, and finds, however, that the Defendant has failed to present

  any credible evidence showing that any of the parties he suggests are members of W&K.

             i) Uyen Nguyen & Coin-Exch

         In his Motion, the Defendant argues that Nguyen, a Vietnamese national, is a member of

  W&K and Coin-Exch, an Australian corporation, is a member of W&K. ECF No. [144], at 11-13.




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  Because Nguyen is a foreign national and Coin-Exch is a foreign corporation, Defendant asserts

  that their membership in W&K destroys diversity jurisdiction. Id. At the time the Defendant filed

  his Motion, the Defendant’s evidentiary support for these assertions included emails between Dave

  Kleiman, Craig Wright, and Lynn Wright, public filings available on the Florida Department of

  State Division of Corporations (“Sunbiz”), and several letters from Ira Kleiman to the Australian

  Tax Office (“ATO”).

          As for the emails, which were between Nguyen and Dave Kleiman, the Defendant claimed

  it evidenced Dave Kleiman extending an offer to serve as a “director” of W&K to Nguyen. ECF

  No. [144-1].    Three days after the instant Motion was filed, the Defendant filed a Notice

  Withdrawing Exhibit A. ECF No. [154] (the “Notice”). In the Notice, the Defendant indicated

  that Exhibit A was being withdrawn because the Defendant could not “verify the date of the email

  exchange.” ECF No. [154]. At the Hearing, the Defendant also withdrew another exhibit (Exhibit

  F), ECF No. [144-6], attached to his Motion, which was an additional email exchange between

  Dave Kleiman and Nguyen for the same reasons presented in his Notice. ECF No. [256], at 39:6-

  9 (“We’re not relying on [Exhibit F] ... I would withdraw it now.”). In their Response to the

  Motion, Plaintiffs argued that Exhibit A was a forged email which came to light as a result of the

  public exposing it as a fraud. ECF No. [159], at 6-11. Specifically, the Plaintiffs claim Exhibit A

  was withdrawn after members of the public uncovered that the “PGP signature”1 of the email,

  purported to be authored/sent by Dave Kleiman, was created a year after his death. Id. at 6-7.

  Nonetheless, because the Defendant has now withdrawn each of these exhibits2 the Court will not

  consider either for the purposes of this Motion.


  1
    “PGP” stands for “Pretty Good Privacy” and is a computer software program that allows a user to “encrypt
  and decrypt data such as emails, files, or documents.” ECF No. [159], at 10.
  2
     The Court also notes that the emails in question were produced by the Defendant during discovery. The
  Defendant, however, is not the sender, recipient, nor copied to the emails. At the Hearing, given that the


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         As for the Sunbiz filings, the Defendant contends that the March 28, 2014, Sunbiz filing

  evidences that Nguyen and Coin Exch were members, because Nguyen listed herself as the

  registered agent and “MS,” and Coin Exch as “DR.” Id. At the Hearing, the Defendant argued that

  “DR” stood for “director” but that there was some ambiguity as to what “MS” possibly meant.

  Defendant claims that “M” could be an abbreviation for “manager,” however, it could also stand

  for “member.” ECF No. [256], at 35:13-16 (“But Judge, for the purpose of this discussion, we can

  think of ‘M’ as manager. But I just want to suggest to the Court the way the State sets this up

  there’s an ambiguity and it could also mean member.”).

         Taking the 2014 Sunbiz filing at face value, it cannot be discerned that Nguyen nor Coin-

  Exch were listed as members of W&K. Indeed, in the March 2014 Sunbiz filing, Nguyen solely

  listed herself as W&K’s “registered agent” and “MS.” ECF No. [83-25]. Nguyen further listed

  Coin Exch as holding the position of “DR.” Id. Sunbiz provides a “Title Abbreviations” index for

  the public to utilize. See ECF No. [159-3]. This index states that the list of abbreviations is not

  exhaustive and further, that other abbreviations “may be used that are not identified.” However,

  the index provides that the listed abbreviations can hold the following meanings: 1) M = Manager;

  2) S = Secretary; and 3) D = Director. ECF No. [159-3], at 3-4. Therefore, the evidence the

  Defendant attempts to utilize to support the additional membership of Nguyen and Coin-Exch in

  W&K is completely speculative in nature.

         Concerning the May 1, 2014, letter from Ira Kleiman to the ATO, this document evidences

  solely Ira Kleiman’s belief that Nguyen was a director of W&K. See ECF No. [144-7], at 2 (“I

  understand that Ms[.] Nguyen was appointed as a director [of W&K].”). Even the Defendant



  Defendant claims he has not been in contact with Nguyen “in years,” the Court questioned how the
  Defendant came into possession of the emails. The Defendant claimed he received them as “records” from
  companies when he left Australia.


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  testified during his deposition that he understood Nguyen to be the director and not the manager

  of W&K. See ECF No. [246-1] (287:24-288:1) (“Q. Are you aware of any role [Nguyen] played

  with W&K? A. I believe she was a director.”). For purposes of diversity jurisdiction, it is the

  citizenship of an LLC’s members—not its managers—that is relevant. Silver Crown Investments,

  LLC v. Team Real Estate Mgmt., LLC, 349 F. Supp. 3d 1316, 1324 (S.D. Fla. 2018) (Martinez J.)

  (citing Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th

  Cir. 2004).

         The Defendant also argues that the Court should look at the extrinsic evidence to

  demonstrate that Nguyen is a member of W&K. Specifically, he cites her reinstatement of W&K

  and the payment of the annual fees in 2014. ECF No. [171], at 7-8. The Court first notes that

  these filings occurred after Dave Kleiman’s death. Further, it is disputed by the parties whether

  Nguyen or Coin-Exch were even authorized to file on behalf of W&K after Dave Kleiman’s death.

  As such, the “extrinsic evidence” that the Defendant argues should be considered in his factual

  attack relating to whether Nguyen and Coin Exch were members of W&K is simply not credible.

  The Defendant also contends that Ira Kleiman did not have the authority to remove Nguyen and

  Coin-Exch as members of W&K. ECF No. [144], at 13. Because the Court finds that no credible

  evidence has been presented that Nguyen and Coin-Exch were even members of W&K it need not

  address this argument.

         The evidence proffered by the Defendant is insufficient to meet his burden of production.

  If the evidence proffered is representative of anything, it does nothing more than represent that

  other people/entities held officer positions within the company. It does not evidence that W&K

  had other members.




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             ii) Lynn Wright

         For the first time and in his Reply, the Defendant argues that his ex-wife, Lynn Wright,

  may also be a member of W&K. ECF No. [171], at 6-7. As evidence of Lynn Wright’s

  membership, the Defendant proffered a February 16, 2011, email between Dave Kleiman, Lynn

  Wright, and the Defendant. See generally ECF No. [157-2]. At the Hearing, the parties disputed

  whether the email exchange was truly between Dave Kleiman, the Defendant, and Lynn Wright,

  or just Dave Kleiman and the Defendant due to the varying names that appear in the sender,

  recipient, and courtesy copy lines of the emails. The sum and substance of the email exchange

  includes the inquiry by Dave Kleiman as to whether he could list “you as mgr or mgrm with a

  foreign address.” Id. at 2. First, the Court notes that it is unclear whether this question was directed

  to the Defendant or Lynn Wright. Second, the email chain does not show the response by either

  the Defendant or Lynn Wright to this question. See generally id.

         As for the parties surmising what Dave Kleiman intended, even the Defendant’s counsel

  conceded at the Hearing that interpretation of these emails was “extremely speculative.” See ECF

  No. [256], at 94:18-21 (“. . . the series of emails is interpretations which are extremely speculative,

  about what was in David Kleiman’s head.”). Nonetheless, this email does not demonstrate what

  ultimately occurred. Indeed, upon the first registration of W&K as a limited liability company in

  Florida, Dave Kleiman listed himself as the “mgrm,” the managing member. See ECF No. [83-3].

         Further, in the Defendant’s June 14, 2019 sworn affidavit, the Defendant identified “all

  potential witnesses relevant to this lawsuit.” ECF No. [33-3], at ¶ 20. Of note is that while the

  Defendant now claims that this email evidences that his then wife Lynn Wright was a member of

  W&K, he did not list her as a relevant witness at that time. Id. Then at his April 4, 2019 deposition,

  the Defendant testified that he had no idea who owned W&K. See ECF No. [242-1], at 22-23 (“Q.




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   You have no idea who owns W&K? A. I do not know that.”). Similar to the claims made relating

   to Nguyen and Coin-Exch, the Defendant fails to proffer any credible evidence challenging the

   Court’s subject matter jurisdiction.

          At the Hearing, Defendant argued that the Court cannot both rely upon and find that the

   statements and evidence provided by him are untrue. See ECF No. [256], at 100:6-9 (“Judge, if

   everything’s a lie, then the stuff they rely on when Wright files a contract, or when Wright makes

   a statement, can’t be credited either.”). Here, Defendant’s argument is novel. He seems to argue

   that even though his numerous conflicting statements are the very reason confusion has been

   created as to the ownership of W&K, the Court should nonetheless use these statements as a basis

   to challenge the Court’s subject matter jurisdiction. In essence, the Defendant uses the evidence

   proffered as both his sword and his shield. Unfortunately, the record is replete with instances in

   which the Defendant has proffered conflicting sworn testimony before this Court. In weighing the

   evidence, the Court simply does not find the Defendant’s testimony to be credible. As for the

   remaining “extrinsic evidence,” none of the evidence demonstrates additional membership in

   W&K other than Dave Kleiman.

          Accordingly, the Court finds that the Defendant’s assertions in his Motion are insufficient

   as he has failed to provide any credible evidence showing a lack of diversity. While the plaintiff

   has the burden to prove diversity in a factual attack, that burden exists only if the defendant has

   first proffered evidence to show a lack of diversity. See OSI, Inc. v. United States, 285 F.3d 947,

   951 (11th Cir. 2002). The Defendant has utterly failed in his burden of production.

          b) Facial Attack

          As for his facial attack, Defendant argues in his Reply that the SAC insufficiently alleges

   the citizenship of the parties. ECF No. [171], at 5. A complaint survives a facial attack on subject




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   matter jurisdiction if the plaintiff’s allegations, which are taken as true, sufficiently provide a basis

   for subject matter jurisdiction. See Menchaca, 613 F.2d at 511. As a limited liability company,

   W&K’s citizenship is determined by the citizenship of its members. The SAC alleges that the

   “exact ownership structure [of W&K] is unclear due to Craig’s contradictory statements.” ECF

   No. [83], at ¶ 70. However, the SAC then alleges in the next paragraph that “[a]s best as can

   presently be discerned, Dave was the sole ‘member’ of W&K.” Id. at ¶ 71. During the Hearing,

   Plaintiff argued that the SAC was drafted to reflect that the only possible members of W&K could

   have been the Defendant or Dave Kleiman. ECF No. [256], at 84:17-22 (“And so we were just

   being careful, saying: "Look, as best as can be discerned, based on everything we have, on our

   information and belief, and on all the evidence available to us, [publicly] available and privately

   available, Dave Kleiman was the sole member.”). Since the initiation of this case, however, the

   Defendant has unequivocally affirmed in a sworn affidavit that he has “never been a director,

   member, shareholder, officer, employee, or representative of W&K.” ECF No. [12-2], at ¶ 12. A

   “[c]ourt may dismiss the complaint based on a facial challenge only if it is clear that no relief could

   be granted under any set of facts that could be proven consistent with the allegations.” World Fuel

   Servs., Inc. v. Pan Am World Airways Dominicana, S.A., No. 18-20321-Civ, 2018 WL 3730903,

   at *2 (S.D. Fla. Apr. 17, 2018) (Torres, J.) (emphasis added) (quoting Hames v. City of Miami, 479

   F. Supp. 2d 1283-84 (S.D. Fla. 2007)).

           Here, the Court is cognizant of the Defendant’s argument that the SAC includes an

   allegation that the exact ownership structure of W&K is “unclear.” However, by the Defendant’s

   own admission, he was not an owner nor a member of W&K. Thus, any ambiguity in the SAC is

   easily dispelled. Further, the SAC also directly states that Dave Kleiman was the “sole owner” of




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   W&K. As such, the Court concludes that the SAC survives the facial attack related to the Court’s

   diversity jurisdiction.

           Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [144], is

   DENIED.

           DONE AND ORDERED in Chambers, at Miami, Florida, on August 15, 2019.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
   Copies to:

   Counsel of Record




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